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                             UNITED STATES DISTRICT COURT
                                       DISTRICT OF COLORADO
                                    UNITED STATES COURTHOUSE
                                          901 19th STREET
   CHRISTINE M. ARGUELLO              DENVER, COLORADO 80294
   SENIOR JUDGE                              (303) 335-2174
                                  Christine_M_Arguello@cod.uscourts.gov




                                MEMORANDUM

TO:               Jeffrey P. Colwell, Clerk
                  Attn: Docketing Team

FROM:             Judge Christine M. Arguello

DATE:             May 8, 2024

RE:               16-cr-00284-CMA – USA v. Donald Iley


      Exercising my prerogative as a Senior Judge, I request that this
criminal action be reassigned.
